Case 1:07-cv-00241-L-LDA   Document 57-3   Filed 02/29/2008   Page 1 of 10




                 EXHIBIT 2
Case 1:07-cv-00241-L-LDA   Document 57-3   Filed 02/29/2008   Page 2 of 10
Case 1:07-cv-00241-L-LDA   Document 57-3   Filed 02/29/2008   Page 3 of 10
Case 1:07-cv-00241-L-LDA   Document 57-3   Filed 02/29/2008   Page 4 of 10
Case 1:07-cv-00241-L-LDA   Document 57-3   Filed 02/29/2008   Page 5 of 10
Case 1:07-cv-00241-L-LDA   Document 57-3   Filed 02/29/2008   Page 6 of 10
Case 1:07-cv-00241-L-LDA   Document 57-3   Filed 02/29/2008   Page 7 of 10
Case 1:07-cv-00241-L-LDA   Document 57-3   Filed 02/29/2008   Page 8 of 10
CM/ECF LIVE v3.1.2 - U.S. District Court                    https://ecf.gand.uscourts.gov/cgi-bin/DktRpt.pl?779959782290322-L_1...
                      Case 1:07-cv-00241-L-LDA   Document 57-3       Filed 02/29/2008        Page 9 of 10



                                                                     4months, APPEAL, EXH, LTDREF, PROTO

                                                U.S. District Court
                                       Northern District of Georgia (Atlanta)
                                 CIVIL DOCKET FOR CASE #: 1:02-cv-01686-MHS


          A., et al v. Barnes, et al                                  Date Filed: 06/19/2002
          Assigned to: Judge Marvin H. Shoob                          Jury Demand: None
          Demand: $0                                                  Nature of Suit: 440 Civil Rights: Other
          Case in other court: usca, 06-15514-A                       Jurisdiction: Federal Question
                                usca, 06-15514-A
                                SUPERIOR CT/FULTON, 2002-CV-54182
          Cause: 28:1443(1)Removal from State Court - Civil Rights
          Plaintiff
          Kenny A.                                     represented by Corey Fleming Hirokawa
          by his next friend Linda Winn                               Bondurant Mixson & Elmore
                                                                      1201 West Peachtree Street, N.W.
                                                                      3900 One Atlantic Center
                                                                      Atlanta, GA 30309-3417
                                                                      404-881-4100
                                                                      Email: hirokawa@bmelaw.com
                                                                      LEAD ATTORNEY
                                                                      ATTORNEY TO BE NOTICED

                                                                       Daniel W.E. Holt
                                                                       Children's Rights, Inc.
                                                                       330 7th Avenue
                                                                       4th Floor
                                                                       New York, NY 10001
                                                                       212-683-2210
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

                                                                       Erik S. Pitchal
                                                                       Suffolk University Law School
                                                                       Clinical Programs
                                                                       Suite 190
                                                                       120 Tremont Street
                                                                       Boston, MA 02108
                                                                       617-305-1641
                                                                       Email: epitchal@suffolk.edu
                                                                       LEAD ATTORNEY
                                                                       ATTORNEY TO BE NOTICED

                                                                       Ira P. Lustbader



1 of 74                                                                                                        2/29/2008 6:43 PM
CM/ECF LIVE v3.1.2 - U.S. District Court                             https://ecf.gand.uscourts.gov/cgi-bin/DktRpt.pl?779959782290322-L_1...
                   Case 1:07-cv-00241-L-LDA           Document 57-3         Filed 02/29/2008         Page 10 of 10

           10/18/2002              64 RESPONSE by plas to State Defts' [61-1] motion for reconsideration and [61-2]
                                      for clarification of [60-1] order granting plas' request for motion to compel. (er)
                                      (Entered: 10/21/2002)
           10/18/2002              65 ORDER by Judge Marvin H. Shoob GRANTING [63-1] plas' motion for the
                                      substitution of a next friend; Roslyn M. Satchel is substituted for Marilyn Weaver
                                      as Next Friend for Priscilla G. (cc) (er) (Entered: 10/21/2002)
           10/31/2002              66 ORDER by Judge Marvin H. Shoob, directing the parties to consult regarding the
                                      issues raised to reach agreement; any matters that cannot be resolved by
                                      agreement, the Court DIRECT plas to file a motion by 4:00p.m., 11/4/02, setting
                                      forth each unresolved issue and stating plas' proposed resolution; Dfts shall have
                                      until 3:00 p.m., 11/7/02, to file their response. [66-1] order to be submitted on
                                      11/7/02 (cc) (er) (Entered: 10/31/2002)
           10/31/2002              76 Application for admission of Erik S. Pitchal pro hac vice for plas. Fee Paid -
                                      Receipt # 496614. (to: MHS) (er) (Entered: 11/07/2002)
           11/04/2002              67 RESPONSE by dft DeKalb County to plas' [50-1] motion for preliminary
                                      injunction (er) (Entered: 11/05/2002)
           11/04/2002              68 RESPONSE by dft Fulton County to plas' [50-1] motion for preliminary
                                      injunction (er) (Entered: 11/05/2002)
           11/04/2002              69 Notice of Attorney appearance for defts Roy Barnes, Department of Human,
                                      James Martin, Family & Children Sv, Beverly Jones, DeKalb County DFCS,
                                      Wayne Drummond by Mark Howard Cohen (er) (Entered: 11/05/2002)
           11/04/2002              70 MOTION by State Defts to dismiss with brief in support. (er) (Entered:
                                      11/05/2002)
           11/04/2002              71 MOTION by State Defts to exceed page limitation for brief in support of their
                                      motion to dismiss with brief in support. (er) (Entered: 11/05/2002)
           11/04/2002              72 BRIEF by State Defts in opposition to plas' [50-1] motion for preliminary
                                      injunction. (er) (Entered: 11/05/2002)
           11/04/2002              73 EXHIBITS in support of State Defts' brief in opposition to plas' motion for
                                      preliminary injunction. (er) (Entered: 11/05/2002)
           11/04/2002              74 MOTION by plas in limine in connection with hearing on motion for preliminary
                                      injunction with brief in support. (er) (Entered: 11/05/2002)
           11/04/2002              75 Notice of filing VOL IV (Exhibits 80-98) by plas in support of motion in limine
                                      and in further support of motion for preliminary injunction. (*** UNDER SEAL
                                      ***) (er) (Entered: 11/06/2002)
           11/05/2002              77 SUPPLEMENT TO INITIAL DISCLOSURES by State Defts. (er) Modified on
                                      11/07/2002 (Entered: 11/07/2002)
           11/06/2002              78 MOTION by dft DeKalb County to dismiss with brief in support. (er) (Entered:
                                      11/07/2002)
           11/06/2002              79 Attorney appearance for plaintiff s by Jeffrey O. Bramlett and Corey Fleming
                                      Hirokawa (er) (Entered: 11/07/2002)




34 of 74                                                                                                                2/29/2008 6:43 PM
